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UNITED sTATEs DISTRICT CoURT DOCUMENT
soUTHERN DISTRICT oF NEW YoRK ELECT_RONICALLY FILED
H. CRISTINA CHEN_osTER, LISA PARISL sHANNA DOC #~ . B` /+
oRLIcH, ALLiSoN GAMBA, and MARY DE LUIS, DATE FILED~ ”l ,/ l
Plaintiffs,
against- 10 Civ. 6950 (AT) (JCF)
GoLDMAN, sACHs & Co. and THE GoLDMAN MEMoRANDUM
sACHs GRoUP, iNC., oPINIoN AND oRDER
Defendants.

 

 

ANALISA TORRES, District Judge:

ln this employment discrimination case, Plaintiffs, H. Christina Chen~Oster, Lisa Parisi,
Shanna Orlich, Allison Gamba, and Mary De Luis, allege that their former employer, Defendants
Goldman, Sachs & Co. and the Goldman Sachs Group, lnc. (collectively, “Goldman Sachs”),
violated Title VII of the Civil Rights Act of l964, 42 U.S.C. § 2000e et seq. (“Title VII”), and
the NeW York City Human Rights LaW, N.Y.C. Admin. Code § 8-1()1 et Seq. (“NYCHRL”), by
Systematically disfavoring female employees and denying them equal compensation and
advancement opportunities based on their gender. Defendants move to dismiss Gamba’s and De
Luis’ claims for injunctive and declaratory relief Plaintiffs move to file a supplemental
complaint For the reasons stated beloW, both motions to dismiss are DENIED, and Plaintiffs’
motion to file a supplemental complaint is GRANTED.

BACKGROUND

I. Relevant Procedural Historv

The Court assumes familiarity With facts of the case and recites only briefly the
procedural history relevant to these motions On September 16, ZOlO, Plaintiffs Chen-Oster,
Parisi, and Orlich brought this putative class action alleging intentional discrimination, disparate

impact discrimination, retaliation, and pregnancy discrimination under Title Vll and the

 

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NYCHRL. ECF No. 5. On April 13, 2015, Plaintiffs Gamba and De Luis moved to intervene,
ECF No. 377, Which the Honorable J ames C. Francis granted on August 3, 2015, ECF No. 410.
Defendants appealed Magistrate Judge Francis’ order and, on June 6, 2016, this Court affirmed
the order. ECF No. 450.

Plaintiffs filed a second amended complaint on August 3, 2015, Which included
allegations regarding Gamba and De Luis. ECF No. 411. On September 28, 2015, Defendants
moved to dismiss Gamba’s claims for injunctive and declaratory relief. ECF No. 441. By letter
dated May 9, 2016, Defendants notified the Court that De Luis no longer Worked for Goldman
Sachs, ECF No. 446, and subsequently moved to dismiss De Luis’ claims for injunctive and
declaratory relief, ECF No. 457.

Gn July l, 2016, Plaintiffs filed a motion to file a supplement to the second amended
complaint pursuant to Federal Rule of Civil Procedure 15 (d) to add factual allegations and causes
of action related to De Luis’ departure from Goldman Sachs. ECF No. 455. Finally, on March
9, 2017, Plaintiffs requested to amend their proposed supplement to include that De Luis
received a right to sue letter from the Equal Employment Opportunity Commission. ECF No.
477; See also ECF No. 477-1 (“Arn. Suppl. Compl.”). Defendants oppose the initial motion to
file a supplement to the second amended complaint, ECF No. 456, but do not oppose the
substitution of the new proposed supplement for the old, ECF No. 478.

11. §§m_l@

Gamba Worked for Goldman Sachs in NeW York from 2001 to August 2014. Second
Am. Compl. 11 16. In 2003, Gamba joined the NeW York Stock Exchange Equities Department.
Ia’. 11 125. That year, she Was promoted to Vice President. Id. Although she Was eligible to be

promoted to Managing Director in 2005, she Was never promoted again. Id. 11 133.

 

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Gamba claims that Goldman Sachs “evaluated her performance more harshly than it did
similarly performing males, paid her less in base compensation and bonuses than it paid similarly
situated men, and promoted equally or less qualified men instead of her to positions she Was
qualified to hold.” Id. 11 126. For instance, She states that in 2007, her manager “indicated that
Gamba Would be nominated for promotion to Managing Director, but suggested that she consider
‘adopting’ instead of becoming pregnant.” Ia'. 11 127. Gamba took maternity leave for part of
2008. Id. 11 129. That same year, Goldman considered and rejected Gamba for a promotion to
Managing Director, promoting a male trader Whose “trading performance Was not as good as”
hers, id. 11 130, despite the fact that Gamba’s revenue from her stock portfolio rose from $1.2
million in 2005 to over $6 million in 2007 and to $9.5 million in 2008, id. 1111 127, 129. ln
August 2014, her employment With Goldman Sachs ended When Goldman Sachs “divested itself
of the department in Which she Worl<ed.” Id. 1111 16. Among other remedies, Gamba seeks
reinstatement to her “rightful position[] at Goldman Sachs.” Ia’. 11 205@`).

lll. Q§_L_u§

De Luis began Working at Goldman Sachs in June 2010 as a Senior Analyst in the
Investment Management Division. Id. 1111 18, 137. She Worked first out of Miami, Florida and
then in Dallas, Texas, but regularly “travel[ed] to and Works from the Goldman Sachs’s NeW
York, Nevv York office.” Id. 11 18. ln 2012, she was promoted to the position of Associate. Id.
11 137. In 2014, she Was made a Vice President. Id. HoWever, De Luis alleges that she has been
evaluated unfairly based on her gender, id. 11 139, and paid less than her male colleagues
throughout her employment, id. 11 140.

ln March 2016, De Luis requested a transfer from Goldman Sachs’ Dallas office to its

Miami office, due to the relocation of her significant other. Am. Suppl. Compl. 11 5. Prior to her

 

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participation in the present lawsuit, De Luis “had been assured by Goldman Sachs in March 2012
and September 2014 . . . that relocation to Miami in 2016 would be possible.” Id. 11 6. However,
after requesting the transfer, De Luis was informed that she could work in Dallas or New Yorl<
“or apply and be considered for an inferior position in Miami.” Id. 1111 5~6. De Luis claims that
Goldman Sachs denied her transfer request because “her supervisory function could not be
carried out remotely,” even though coordination of her team was being done remotely “as many
members of the team were located in New York or regional offices.” Id. 11 8. De Luis claims
that Goldman Sachs denied her transfer request in retaliation for her role as a plaintiff in this
case. Irz’. 1111 9, 10. De Luis resigned on May 2, 2016. Id. 11 11. The amended supplemental
complaint states causes of action for retaliation under Title Vll and the NYCHRL. Id. 1111 12-21.
She seeks reinstatement Id. 1111 16, 21, 22.
DISCUSSION

l. Legal Principles

Defendants have moved to dismiss Gamba’s and De Luis’ claims for injunctive and
declaratory relief pursuant to Federal Rule of Civil Procedure 12(b)(1). Before turning to each
motion, the Court addresses certain legal issues raised in both motions.

A. 121b111 1 Motion

ln resolving a motion to dismiss for lack of subject matter jurisdiction, “the district court
must take all uncontroverted facts in the complaint . . . as true, and draw all reasonable
inferences in favor of the party asserting jurisdiction.” Tana'on v. Captain 'S Cove Marz'na of
Brz'dgeport, Inc., 752 F.3d 239, 243 (2d Cir. 2014). However, “[w]here jurisdictional facts are

placed in dispute, the court has the power and obligation to decide issues of fact by reference to

 

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evidence outside the pleadings, such as affidavits.” APWUv. Potter, 343 F.3d 619, 627 (2d Cir.
2003) (quoting LeBlanc v. Cleveland, 198 F.3d 353, 356 (2d Cir. 1999)).

B. Standing

A central issue to both motions to dismiss is an opinion issued by the Honorable Leonard
B. Sand, dated July 12, 2012. Chen-Oster v. Goldman, Sachs & Co., 877 F. Supp. 2d 113
(S.D.N.Y. 2012), ECF No. 158. Judge Sand held that, under Wal-Mart Stores, Inc. v. Dukes, 564
U.S. 338 (2011), a former employee lacks standing to bring claims against her former employer
for injunctive and declaratory relief. See Chen-Oster, 877 F. Supp. 2d at 121-22. Plaintiffs
contend that former employees, such as Gamba or De Luis, may have standing for injunctive and
declaratory relief if they seek reinstatement, and ask this Court to reconsider Judge Sand’s ruling.
The parties agree that this request implicates the law of the case doctrine, which applies when a
court “reconsiders its own ruling on an issue in the absence of an intervening ruling on the issue
by a higher court.” United States v. Quintieri, 306 F.3d 1217, 1225 (2d Cir. 2002).

The law of the case doctrine instructs “‘that when a court has ruled on an issue, that
decision should generally be adhered to by that court in subsequent stages in the same case’
unless ‘cogent’ and ‘compelling’ reasons militate otherwise.” Id. (citation omitted) (first quoting
Unz'ted S),‘ates v. Uccio, 940 F.2d 753, 758 (2d Cir. 1991); and then quoting Um'ted States v.
Tenzer, 213 F.3d 34, 39 (2d Cir. 2000)). Reconsideration of a prior decision may be “justified in
compelling circumstances, consisting principally of (1) an intervening change in controlling law,
(2) new evidence, or (3) the need to correct a clear error of law or to prevent manifest injustice.”
Um`ted States v. Carr, 557 F.3d 93, 102 (2d Cir. 2009). The doctrine is “driven by
considerations of fairness to the parties, judicial economy, and the societal interest in finality.”

Ia’. However, “the efficiency concerns that underlie the doctrine do not support its application in

 

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cases where the original ruling is clearly erroneous.” Strauch v, Demskie, 892 F. Supp. 503, 506
(S.D.N.Y. 1995); see also Virgin Atl. Airways, Ltd. v. Nat’l Mediation Bd., 956 F.2d 1245, 1254-
55 (2d Cir. 1992) (“1A1 district court would necessarily abuse its discretion if it based its ruling
on an erroneous view of the law . . . .” (quoting Cooter & Gell v. Hartmczrx Corp., 496 U.S. 384,
405 (1990))).

With “significant reservations” and “misgivings,” Judge Sand held, as a matter of “first
impression in this circuit,” that Dukes serves as a “blanket denial of standing to eX-employees.”
Chen-Oster, 877 F. Supp. 2d at 121-22. Despite his “disagree[ment] with the Supreme Court’s
reasoning,” he concluded that “[t]he Supreme Court’s reasoning, simply put, is that ex-employee
have no material stake in whether their former employer is or is not enjoined from continuing the
allegedly discriminatory employment practices since they are no longer there.” Id.

At issue in Dukes, a gender discrimination class action brought by current and former
Wal-Mart employees who sought backpay as well as injunctive and declaratory relief, was the
applicability of Rule 23(b)(2) and (b)(3) to plaintiffs’ backpay claim. 564 U.S. at 360.l The
Court held that claims for backpay were improperly certified under Rule 23(b)(2), “at least
where (as here) the monetary relief is not incidental to the injunctive or declaratory relief.” Id. at
360. The Court focused on the fact that the claims for monetary relief were individualized,
stating that this individual review is “precisely why 1Rule 23](b)(3) requires the judge to make

findings about predominance and Superiority before allowing the class.” Id. at 363.

 

1 Rule 23(b)(2) allows certification of a class when “the party opposing the class has acted or refiised to act on
grounds that apply generally to the class, so that final injunctive relief or corresponding declaratory relief is
appropriate respecting the class as a whole.” Rule 23(b)(3) allows certification of a class “when the court finds that
the questions of law or fact common to class members predominate over any questions affecting only individual
members, and that a class action is superior to other available methods for fairly and efficiently adjudicating the
controversy.”

 

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The Dukes plaintiffs argued for the application of the Ninth Circuit’s “predominance
test,” which finds that a Rule 23(b)(2) class is appropriate for backpay claims as long as the
money damages claims “do not ‘predominate’ over 1plaintiffs’1 requests for injunctive and
declaratory relief.” ld. ln rejecting this predominance test, the Supreme Court stated:

The predominance test would also require the District Court to reevaluate the roster
of class members continually The Ninth Circuit recognized the necessity for this
when it concluded that those plaintiffs no longer employed by Wal~Mart lack
standing to seek injunctive or declaratory relief against its employment practices
The Court of Appeals’ response to that difficulty, however, was not to eliminate all
former employees from the certified class, but to eliminate only those who had left
the company’s employ by the date the complaint was filed. That solution has no
logical connection to the problem, since those who have left their Wal-Mart jobs
since the complaint was filed have no more need for prospective relief than those
who left beforehand. As a consequence, even though the validity of a (b)(2) class
depends on Whether “final injunctive relief or corresponding declaratory relief is
appropriate respecting the class as a whole,” Rule 23(b)(2) (emphasis added), about
half the members of the class approved by the Ninth Circuit have no claim for
injunctive or declaratory relief at all. Of course, the alternative (and logical)
solution of excising plaintiffs from the class as they leave their employment may
have struck the Court of Appeals as wasteful of the District Couit’s time. Which
indeed it is, since if a backpay action were properly certified for class treatment
under (b)($), the ability to litigate a plaintiffs backpay claim as part of the class
would not turn on the irrelevant question whether she is still employed at Wal-Mart.
What follows from this, however, is not that some arbitrary limitation on class
membership should be imposed but that the backpay claims should not be certified
under Rule 23 (b)(2) at all.

Ia’. at 364-65.

Judge Sand, interpreting this paragraph, concluded that the Supreme Court created a
blanket prohibition of former employees seeking injunctive and declaratory relief under Rule
23(b)(2). Chen-Oster, 877 F. Supp. 2d at 121-22.

Judge Sand read Dukes too broadly The Supreme Court did not itself reach the
conclusion that the former employees lacked standing-agreeing, instead, with the Ninth
Circuit’s determination that the former employees, as a group, did not have standing-but

wanted to show the ineffective nature of the predominance test. See Dukes, 564 U.S. at 364-65.

 

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The Court’s conclusion was primarily that Rule 23(b)(2) was incorrectly applied, not that the
former employees lacked standing See id.

Although Judge Sand found that “the Supreme Court’s analysis of this issue, and its
blanket denial of standing to eX-employees, is not dictum,” Chen-Oster, 877 F. Supp. 2d at 121,
other judges in this district have disagreed The Honorable J esse M. Furman, examining the
same passage in Dakes, concluded that “the [Supreme] Court did not need to reach the question
of whether a former employee seeking reinstatement would have standing to seek injunctive
relief for its point-that some members of the class in Dakes lacked such standing_to be
valid. . . . [T1he Court’s point about class members’ standing was not necessary to its conclusion
that claims for monetary relief may not generally be certified under Rule 23(b)(2).” Kassman v.
KPMG LLP, 925 F. Supp. 2d 453, 468 (S.D.N.Y. 2013). Dukes did not address the impact of a
request for reinstatement on standing: even though reinstatement was pleaded by the plaintiffs in
Dakes, this question was “not part of the questions on which the Court granted certiorari .” Ia’.
(citing Petition for a Writ of Certiorari, Dukes, 564 U.S. 338 (No. 10-277), 2010 WL 3355820, at
*1). As “it is not substantive discussion of a question or lack thereof that distinguishes holding
from dictum, but rather whether resolution of the question is necessary for the decision of the
case,” Baraket v. Holder, 632 F.3d 56, 59 (2d Cir. 2011), the Court find that this language in
Dakes is not controlling precedent here.

Other judges in this district have similarly disagreed with Judge Sand’s conclusion. See,
e.g., Robinson v. Blank, No. 11 Civ. 2849, 2013 U.S. Dist. Lexis 72068, at *17 n.3 (S.D.N.Y.
Feb. 22, 2013) (“Despite Chen~Oster’s reading of Dukes as precluding injunctive relief for any
former employees (even those seeking reinstatement), this Court does not agree that Dakes

reached so far.”), adopted by 2013 U.S. Dist. Lexis 71471, at *3 (S.D.N.Y. May 20, 2013);

 

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Kubz`cek v. Westchester Cly., No. 08 Civ. 372, 2013 WL 5423961, at *8 (S.D.N.Y. Sept. 27,
2013) (summarizing Kassman in dicta); see also, e.g., Levin v. Macligan, 697 F. Supp. 2d 958,
975 (N.D. lll. 2010) (“If Plaintiff s employment is reinstated, he may indeed be subject to the
same allegedly discriminatory policy that he challenges in this lawsuit. To the extent that
Plaintiff seeks an injunction requiring Defendants to cease engaging in sex or age discrimination,
such relief would remedy a harm that Plaintiff is likely to suffer again.” (citing Cizy of Los
Angeles v. Lyons, 461 U.S. 95, 103 (1983))). Judge Francis has made his disagreement with
Judge Sand’s conclusion clear. Chen-Oster, 2012 WL 205875, at *8 (S.D.N.Y. Jan. 19, 2012);
id., 2015 WL 1566722, at "‘15-16 (S.D.N.Y. Mar. 10, 2015); id., 2015 WL 4619663, at *2-4
(S.D.N.Y. Aug. 3, 2015). Moreover, despite the years since Dukes and Judge Sand’s 2012
opinion, Defendants have not pointed to any other authority in this circuit that has read Dakes as
broadly as Judge Sand did.2

And as Judge Sand reco gnized, a former employee’s request for reinstatement opens the
door to the possibility that a plaintiff may be injured in the future by the employer’s
discriminatory policy or practice. Chen-Oster, 877 F. Supp. 2d at 121-22 (“[W]here class
members seek reinstatement, as Plaintiffs do here, it is certainly possible that ‘final injunctive
relief or corresponding declaratory relief is appropriate respecting the class as a whole.”’
(quoting Fed. R. Civ. P. 23(b)(2))). lndeed, Judge Sand observed that the rule he adopted has

significant policy ramifications:

 

2 The Honorable Colleen Mcl\/lahon’s opinion in Oakley v. Verizon Communications Inc. is not to the contrary. No.
09 Civ. 9175, 2012 WL 335657 (S.D.N.Y. Feb. l, 2012). In Oakley, the class included former employees and
sought to “enjoin policies and practices that the company discontinued several years ago.” Id. at *15. On that basis,
Judge Mcl\/lahon stated that the “[f]ormer employees lack standing to obtain injunctive relief because they are no
longer affected by the challenged policies, and an injunction Would do nothing to remedy their past injuries.” Id.
Judge McMahon did not discuss whether the former employees sought reinstatement; but even if the plaintiffs were
seeking reinstatement, the former employees would lack standing to seek injunctive relief because they would not be
injured by the challenged practice if reinstated

 

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One need not engage in freewheeling “slippery slope” analyses to foresee some
potential consequences of the Court’s new rule. Plaintiffs who wish to certify a

class under 23(b)(2) will be forced to remain employed, sometimes under very

difficult conditions, to ensure standing Employers who wish to forestall

employees from certifying a class under the otherwise defendant-unfriendly Rule

23(b)(2), see Dakes, 131 S. Ct. at 2558, will be encouraged to terminate them.

Neither outcome is desirable.
lal. at 122.

Accordingly, the Court now finds that Judge Sand’s determination that Dakes
categorically foreclosed former employees from seeking injunctive and declaratory relief is
clearly erroneous, and that cogent and compelling reasons exist that require this Court to exercise
its discretionary power to revisit Judge Sand’s ruling See Quintz`eri, 306 F.3d at 1225.
“[C]onsiderations of fairness to the parties, judicial economy, and the societal interest in finality”
do not outweigh this Court’s interest in correcting the law and preventing manifest injustice.
Carr, 557 F.3d at 102. The Court, therefore, joins the chorus of opinions in this district that hold
that a former employee seeking reinstatement has standing to seek injunctive and declaratory
relief.

Standing is generally determined when the complaint is filed. See Friencls of the Earth,
Inc. v. Laidlaw Environmental Servl`ces (TOC), Inc., 528 U.S. 167, 175(2000). The parties
dispute whether an intervenor’s standing is determined at the time of intervention, as Defendants
suggest, or whether standing can relate back to the time of filing of the original complaint, as
Plaintiffs argue. As the Second Circuit has made clear, an intervenor’s standing is determined as
of the date the motion to intervene was filed. See Comer v. Cisnero, 37 F.3d 775, 801 (2d Cir.
1994) (“[T]he intervenors certainly had standing at the time they filed their motions to

intervene.”); Robz`a'oax v. Celani, 987 F.2d 931, 938 (2d Cir. 1993) (“1T1he original plaintiff at

the time the complaint was filed, and each intervenor at the time of her motion to intervene, was

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suffering . . . injury capable of being redressed by declaratory or injunctive relief.”); see also,
e.g, Dillarcl v. Chilton Cty. Comm 'n, 495 F.3d 1324, 1339 (11th Cir. 2007) (citing Comer, 37
F.3d at 801). j

The Court rejects Plaintiffs’ argument that the intervenors’ standing should be evaluated
at the time of the filing of the original complaint, when Gamba and De Luis worked at Goldman
Sachs, under the relation back doctrine. Although the relation back doctrine is typically applied
in the context of Rule 15, which governs a party’s amended pleadings, some courts have
interpreted Rule 24 to “provide that an intervenor’s claim may relate back to the case’s original
complaint for purposes ofthe statute of limitations.” ACORN v. County ofNassau, 270 F.R.D.
123, 125-26 (E.D.N.Y. 2010) (emphasis added) (citing New York v. Gutierrez, No. 08 Civ. 2503,
2008 WL 5000493, at *13 (E.D.N.Y. Nov. 20, 2008)). The relation back doctrine, however,
does not apply to standing Cf Polz`ce & Fire Ret. Sys. of City of Detroit v. IndyMac MBS, Inc.,
721 F.3d 95, 111-12 (2d Cir. 2013) (holding that relation back doctrine cannot rescue an
intervenor’s claim brought outside the statute of repose); Dupree v. Prudential Ins. Co. of
America, No 99 Civ. 8337, 2007 WL 2263892, at *33 (S.D. Fla. Aug. 10, 2007) (“Standing does
not ‘relate back’ to an earlier complaint: ‘[t]he only significance of relation back is avoidance of

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the bar of the statute of limitations. (alteration in original) (quoting Morlan v. Um`versal Guar.
Life Ins. Co, 298 F.3d 609, 617 (7th Cir. 2002))); 6A Wright, l\/liller, et al., Federal Practice &
Procedure § 1496 (3d ed.) (“Rule 15(c) is based on the notion that once litigation involving
particular conduct or a given transaction or occurrence has been instituted, the parties are not

entitled to the protection of the statute of limitations . . . .”). Plaintiffs cite no authority in this

circuit where the relation back doctrine has been applied to establish standing, and the Court

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declines to do so here. Accordingly, the Court will measure each intervenor’s standing from the
date of her motion to intervene.

C. l\/lootness

“While the standing doctrine evaluates a litigant’s personal stake at the onset of a case,
‘the mootness doctrine ensures that the litigant’s interest in the outcome continues throughout the
life of the lawsuit.”’ Comer, 37 F.3d at 797-98 (citation omitted) (quoting Cook v. Colgate
Univ., 992 F.2d 17, 19 (2d Cir. 1993)) (citing Lujan v. Defs. of Wilallife, 504 U.S. 555, 569 n.4
(1992)). Whether an “injunctive relief [claim1 can continue . . . is a question of mootness, not
standing.” Jones v. Goora’, 435 F. Supp. 2d 221, 255 (S.D.N.Y. 2006). “[A] case ‘becomes
moot only when it is impossible for a court to grant any effectual relief whatever to the
prevailing party.’ ‘As long as the parties have a concrete interest, however small, in the outcome
of the litigation, the case is not moot.”’ Chafin v. Chafin, 133 S. Ct. 1017, 1023 (2013) (citation
omitted) (quoting Knox v. Serv. Employees Int’l Union, Local 1000, 132 S. Ct. 2277, 2287
(2012)). “1T]he party seeking to have the case dismissed bears the burden of demonstrating
mootness and that burden is a heavy one.” Robinson v. Blank, No. 11 Civ. 2480, 2013 WL
2156040, at *13 (S.D.N.Y. May 20, 2013) (alteration in original) (quoting Etuk v. Slattery, 936
F.2d 1433, 1441 (2d Cir. 1997)).

D. Reinstatement

The Second Circuit has long expressed its “overarching preference in employment
discrimination cases for reinstatement” as a remedy for Title Vll violations Reiter v. MTA
N.Y.C. TransitAuth., 457 F.3d 224, 230 (2d Cir. 2006) (citing NLRB v. Thalbo Corp., 171 F.3d
102, 110 (2d Cir. 1999)). “Reinstatement advances the policy goals of make-whole relief and

deterrence in a way which money damages cannot.” Icl. (quoting Sqaz'res v. Bonser, 54 F.3d 168,

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172-73 (3d Cir. 1995)). Congress intended that Title Vll “make the victims of unlawful
discrimination whole, and . . . the attainment of this objective . . . requires that persons aggrieved
by the consequences and effects of the unlawful employment practice be, so far as possible,
restored to a position where they would have been were it not for the unlawful discrimination.”
Firefighters Local Um`on No. 1784 v. Stotts, 467 U.S. 561, 582 n.15 (1984) (quoting 118 Cong.
Rec. 7168 (1972)). “l\/lindful of this admonition, courts have ordered the reinstatement of
employees in different positions for which they are qualified where their original position was
eliminated, or to positions in different geographic locations” Rol)z`nson, 2013 U.S. Dist. Lexis
71471, at *13.

“Reinstatement, however, may not always be possible.” Whittlesey vi Um`on Carbide
Corp., 742 F.2d 724, 728 (2d Cir. 1984). To determine if reinstatement is appropriate, courts
conduct a fact-based assessment of feasibility See Greenbaum v. Svenska Handelsbanken, 979
F. Supp. 973, 986 (S.D.N.Y. 1997) (Reinstatement “is an equitable remedy whose
appropriateness depends upon the discretion of the court in the light of the facts of each
individual case.” (quoting EEOC v. Kallir, Philips, Ross, Inc., 420 F. Supp. 919, 926-27
(S.D.N.Y. 1976)); see also Zakre v. Norcla’eatsche Lanclesl)ank Girozentrale, 541 F. Supp. 2d
555, 570 (S.D.N.Y. 2008)'(“[R1einstatement may be denied where the plaintiffs employment
term would have already ended by the time of judgment, where reinstatement would displace an
innocent third party, or where the[] employer-employee relationship may have been irreparably
damaged.” (internal quotation marks and citations omitted)).

Defendants argue that allegations of unlawful discharge are required for a plaintiff to be
eligible for reinstatement The Court cannot identify any such requirement Reinstatement is, of

course, most commonly employed to remedy unlawful discharge However, courts in this circuit

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have granted reinstatement in a variety of other circumstances See e.g., Muller v. Costello, 187
F.3d 298, 315 (2d Cir. 1999) (finding that “reinstatement and back pay may be ordered to
remedy unlawful retaliation”); Carrero v. N. Y.C Hous. Aath., 890 F.2d 569, 579 (2d Cir. 1987)
(affirming district court’s award of reinstatement after plaintiff was wrongfully demoted); Reiter
v. Metro. Transp. Aath. ofN.Y., No. 01 Civ. 2762, 2003 WL 22271223, at *13 (S.D.N.Y. Sept.
30, 2003) (awarding reinstatement to plaintiff who had been transferred to a less desirable
position but retained the same title and salary); Shea v. Icelana’az`r, 925 F. Supp. 1014, 1033-34
(S.D.N.Y. 1996) (ordering reinstatement following unlawful demotion, even where plaintiff
voluntarily resigned thereafter); Nobler v. Beth Israel Mea’. Ctr., 715 F. Supp. 570, 574
(S.D.N.Y. 1989) (iinding front pay appropriate to remedy discrimination claim only because
reinstatement was impossible as unique position had been filled). Defendants repeatedly cite
McPartland v. Am. Broadcasting Companies, Inc. for the proposition that “1r]einstatement is
appropriate, however, only upon a finding that the plaintiff was unlawfully or retaliatorily
discharged.” No. 83 Civ. 0471, 1987 WL 14907, at *l (S.D.N.Y. July 21, 1987). However, in
light of the Second Circuit’s decisions in Muller, which allowed reinstatement based on a
retaliation cause of action where the plaintiff s “retaliation claim was not limited to his discharge
but could include any adverse actions throughout his employment”, 187 F.3d at 315 , and
Carrero, which affirmed an award of reinstatement following discriminatory demotion, 890 F.2d
at 579, McPartland clearly can no longer be considered good law.3

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With these legal principles in mind, the Court now turns to the parties’ motions

 

3 McPartlaml cites only out-of-district case law for this proposition and, indeed, this McPartlaml opinion does not
appear to have ever been cited by any court since being issued nearly thirty years ago.

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ll. Qe_LLli§

A. Defendants’ l\/[otion to Dismiss

Defendants have moved to dismiss De Luis’ claims for injunctive and declaratory relief.
De Luis intervened in April 2015, ECF No. 377, and her last day of employment at Goldman
Sachs was May 13, 2016, ECF No. 446. As a current employee at the time of her intervention,
De Luis had standing to seek injunctive and declaratory relief. See Comer, 37 F.3d at 801.
Defendants contend that De Luis’ claim became moot when she resigned from her position at
Goldman Sachs Defendants are incorrect

First, in the second amended complaint, De Luis plausibly pleaded unlawful
discrimination sufficient to support a request for reinstatement To prove that De Luis’ claim is
moot, Defendants must satisfy a “heavy” burden, which they have not, to show that it would be
“impossible” to grant De Luis reinstatement Kassman v. KPMG LLP, No. 11 Civ. 3743, 2014
WL 3298884, at *10 (S.D.N.Y. July 8, 2014) (“[l]n order to demonstrate that [plaintiffs’] claims
for injunctive relief are moot, Defendant must show, . . . that at the time of class certification, it
would be ‘impossible’ for [plaintiffs1 to be seeking reinstatement . . . [or1 to be eligible for
rehire.”). Although De Luis was employed by Goldman Sachs at the time the second amended
complaint was filed, De Luis alleged that she was consistently denied equal pay and fair
performance evaluations Second Am. Compl. 11 139, and the complaint states that Plaintiffs,
including De Luis, seek an “order restoring Plaintiffs and Class Members to their rightful
positions at Goldman Sachs,” id. 11 205(]'). A former employee may seek reinstatement_and,
therefore, also have standing to Seek declaratory and injunctive relief_even after voluntarily

resigning See Shea, 925 F. Supp. at 1018-19, 1033-34. On the basis ofthe second amended

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complaint, the Court cannot find that it is “impossible” that De Luis could be entitled to
reinstatement and her claims are, therefore, not moot

Second, De Luis’ proposed supplemental complaint, which addresses her departure from
Goldman Sachs, also supports a potential remedy of reinstatement De Luis states that she was
“assured” that relocation to Miami would be possible in both March 2012 and September 2014,
prior to her participation in the lawsuit Am. Suppl. Compl. 11 6. De Luis claims that
“[c]oordination of [her] team . . . was already being done remotely, as many members of the
team were located in New York or regional offices,” id. 11 8, and that “Goldman Sachs’s reason
for denying 1her1 transfer is pretext for its retaliatory eonduct,” id. 11 9. Thus, De Luis resigned
from Goldman Sachs “due to the consistent and systematic discrimination she had suffered over
her nearly six years at Goldman Sachs, and faced with the choice of being separated from her
significant other or sidelining her own career.” Ia’. 11 11. On that basis, De Luis seeks
reinstatement to her rightiiil position at Goldman Sachs, id. 1111 16, 21, 22, for which she may be
entitled. Therefore, if the Court grants Plaintiffs’ motion to file a supplemental complaint, then
De Luis would have an additional basis to seek reinstatement The Court now turns to Plaintiffs’
motion.

B. Plaintiffs’ Motion to Supplement

 

Federal Rule of Civil Procedure 15(d) “permit[s] a party to serve a supplemental pleading
setting out any transaction, occurrence, or event that happened after the date of the pleading to be
supplemented.” A district court may grant a motion to file a supplemental pleading “in the
exercise of its discretion, upon reasonable notice and upon such terms as may be just.”

Quaratino v. Tt`}j”any & Co., 71 F.3d 58, 66 (2d Cir. 1995). “Absent undue delay, bad faith,

dilatory tactics, and undue prejudice to the party to be served with the proposed pleading, or

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futility, the motion should be freely granted.” Icl. The claims in the proposed supplemental
pleading arose after Plaintiffs filed their second amended complaint, and Plaintiffs have not
engaged in undue delay, bad faith, or dilatory tactics Because discovery has not yet taken place
on De Luis’ claims, and because Defendants address the proposed supplemental pleading in their
motion to dismiss, the proposed supplemental pleading will not cause undue prejudice. See
Block v. First Blooa1 Assocz'ates, 988 F.2d 344, 350 (2d Cir. 1993). ln opposition, Defendants
contend that the supplemental pleading is futile. A supplemental pleading is futile when the
“proposed claim could not withstand a motion to dismiss pursuant to Rule l2(b)(6).” Dougherty
v. Town ofN. Hempsteaa’ Bd. Oonnz`ng Appeals, 282 F.3d 83, 88 (2d. Cir. 2008).

Defendants first argue that De Luis has failed to state a claim for retaliation under Title
Vll. To establish a prima facie case of retaliation under Title Vll, a plaintiff must show “(1)
participation in a protected activity, (2) that the defendant knew of the protected activity; (3) an
adverse employment action; and (4) a causal connection between the protected activity and the
adverse employment action.” Hicks v. Baines, 593 F.3d 159, 164 (2d Cir. 2010). De Luis has
met the first and second elements See Am. Suppl. Compl. 1111 4-6, 8-11. Defendants argue that
De Luis’ retaliation claim cannot satisfy the second two elements

On what constitutes an adverse employment action, the Second Circuit has explained:

The Supreme Court has held that in the context of a Title Vll retaliation claim, an

adverse employment action is any action that “could well dissuade a reasonable

worker from making or supporting a charge of discrimination.” This definition

covers a broader range of conduct than does the adverse-action standard for claims

of discrimination under Title Vll: “[T]he antiretaliation provision, unlike the

substantive 1discrimination] provision, is not limited to discriminatory actions that

affect the terms and conditions of employment.”

Vega v. Hempstead Union Free Sch. Dist., 801 F.3d 72, 90 (2d Cir. 2015) (alterations in original)

(citation omitted) (quoting Barlington N. & Santa Fe Ry. Co. v. White, 548 U.S. 53, 57 (2006)).

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An adverse employment action must be “more disruptive than a mere inconvenience or an
alteration of job responsibilities,” and can include “a less distinguished title, a material loss of
benefits significantly diminished material responsibilities or other indices . . . unique to a
particular situation.” Chang v. City Univ. ofN.Y., 605 F. App’x 20, 22 (2d Cir. 2015) (alteration
in original) (quoting Sanders v. N.Y.C. Human Res. Aa'mz'n., 361 F.3d 749, 755 (2d Cir. 2004)).
De Luis satisfies this standard. After being “assured” that her transfer to Miami_where, indeed,
she was hired initially_was possible, she was instead informed only that she would be
“considered for an inferior position” there. Am. Suppl. Compl. 1111 1, 6. Drawing all inferences
in her favor, De Luis would suffer, at the least, a “less distinguished title, a material loss of
benefits [or] significantly diminished material responsibilities” in this inferior position. Chung,
605 F. App’x at 22. Accordingly, De Luis has plausibly alleged an adverse employment action.
As to causation, on a motion to dismiss a plaintiff need only “suggest[] a plausible causal
connection between two events.” Perry v. NYSARC, Inc., 424 F. App’x 23, 26 (2d Cir. 2011). lt
is true that the Supreme Court has ruled that “temporal proximity cannot support an inference of
causal connection unless the alleged retaliatory action and the protected activity were ‘very
close’ in time.” [a’. (quoting Clark Cnty. Sch. Dist. v. Breea’en, 532 U.S. 268, 273-74 (2001)).
However, unlike the complaint in Perry, De Luis pleads additional facts to support an inference
of a causal connection, and need not rely solely on the temporal proximity: she pleads that other
employees have been granted transfers or flexible work arrangements that she received multiple
assurances over multiple years that she would be allowed to transfer back to l\/liami, and that
Goldman Sachs’ purported reason for denying the request is undermined by the fact that other

team members worked remotely. Compare Am. Suppl. Compl. 1111 6-9, with Complaint, Perry,

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10 Civ. 6337 (W.D.N.Y. June 22, 2010), ECF No. 1,1111 27. 29. Accordingly, De Luis has
adequately pleaded retaliation under Title Vll.

Finally, Defendants contend that De Luis cannot state a claim for retaliation under the
NYCHRL because she neither works in New York City nor alleges that the discriminatory
conduct impacted her in New York City. See Hojj’man v. Paraa’e Publ 'ns, 15 N.Y.3d 285, 291
(2010). The “impact” requirement “does not exclude all nonresidents from its protection; rather,
it expands those protections to nonresidents who work in the city, while concomitantly
» narrowing the class of nonresident plaintiffs who may invoke its protection.” Ia’. at 290. “Under
the NYCHRL the impact of the employment action must be felt by the plaintiff in NYC.”

Vangas v. Monteflore Mecl. Ctr., 823 F.3d 1747 183 (2d Cir. 2016) (NYCHRL claim properly
dismissed where plaintiff worked, was supervised, and was terminated outside New York City
and did not allege that she ever went to New York City for work). To succeed on a motion to
dismiss a defendant must show “that there is no possibility that there Was an impact in New
York.” Chin v. CH2MHill Companies, Ltd., No. 12 Civ. 4010, 2012 WL 4473293, at *3
(S.D.N.Y. Sept. 28, 2012). They have not De Luis pleaded that she “regularly travels to and
works from the Goldman Sachs’s New York, New York office,” serves clients in New York, and
that she had at least one meeting to discuss her career advancement at Goldman Sachs while in
the New York office. Second Am. Compl. 1111 138, 143. Such facts are sufficient, on a motion to
dismiss to plausibly suggest that she felt Goldman Sachs’ alleged retaliation in New York. See,
e.g., Regan v. Benchmark Co. LLC, No. 11 Civ. 451, 2012 WL 692056, at *14 (S.D.N.Y. Mar. 1,
2012) (denying motion to dismiss where plaintiff worked out of the New York office for part of
her employmentj “service[d] New York City-based clientele and remained under the

management and supervision of [defendants’] New York City office”); see also Ana'erson v.

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HotelsAB, LLC, No. 15 Civ. 712, 2015 WL 5008771, at *3 (S.D.N.Y. Aug. 24, 2015) (denying
motion to dismiss “where Plaintiffs employment responsibilities would have brought her within
the boundaries of New York City”). Because it is plausible that De Luis felt Goldman Sachs’
alleged retaliation, at least in part, in New York, her NYCHRL retaliation claim is not futile.

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For the reasons stated above, Plaintiffs’ motion to file a supplemental complaint, as
amended, is GRANTED, and Defendants’ motion to dismiss De Luis’ claims for injunctive and
declaratory relief is DENIED.

lll. _C_}Mba

Defendants relying on Judge Sand’s opinion, move to dismiss Gamba’s claims for
injunctive and declaratory relief on the ground that Gamba does not have standing to bring a
claim for injunctive and declaratory relief as a former employee Gamba was employed at
Goldman Sachs until August 2014, Second Am. Compl. 11 16, and her motion to intervene was
filed in April 2015, ECF No. 377. Because Gamba was no longer employed by Goldman Sachs
at the time her motion to intervene was filed, the Court turns to whether Gamba had standing
under the reinstatement exception described above. See Kassman, 925 F. Supp. 2d at 466.

Defendants argue that reinstatement is not feasible because Gamba’s division, where she
currently works is no longer a part of Goldman Sachs However, Gamba seeks reinstatement to
her “rightful position[]” at Goldman Sachs. Second Am. Compl. 11 205(1). Gamba claims that
Goldman Sachs’ discriminatory policies included denying women opportunities to lateral into
other areas of the firm, z`a’. 11 56, disfavoring women in the distribution of business opportunities
id. 1111 156, 172, and providing Women with less training and mentorship, id. 11 59. lt is “the

responsibility of a court that finds a 1Title Vll] violation . . . to fashion equitable relief to make

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the claimant whole.” Reiter, 457 F.3d at 230 (first alteration in original) (quoting Thalbo Corp.,
171 F.3d at 110). “A court can grant reinstatement where a comparable job exists even if it bears
a different title.” Shea, 925 F. Supp. at 1030. As reinstatement “is an equitable remedy whose
appropriateness depends upon the discretion of the court in the light of the facts of each
individual case,” Greenbaam, 979 F. Supp. at 986 (quoting Kallz`r, 420 F. Supp. at 926-27), and
drawing all inferences in her favor, it is premature to foreclose the possibility that Gamba may be
entitled to reinstatement at Goldman Sachs Similarly, the Court cannot find that reinstatement is
“impossible,” and thus cannot find Gamba’s claims moot See Kassman, 2014 WL 3298884, at
*10.

Accordingly, Defendants’ motion to dismiss Gamba’s claims for injunctive and
declaratory relief is DENIED.

CONCLUSION

For the reasons stated above, Plaintiffs’ motion seeking to file a supplemental complaint
is GRANTED, and Defendants’ motions to dismiss Gamba’s and De Luis’ injunctive and
declaratory relief are DENIED.

By April 26, 2017, the parties shall jointly write to the Court with a proposal on how to
proceed regarding Judge Francis’ memorandum and order on the parties’ Daubert motions and
regarding Judge Francis’ report and recommendation on Plaintiffs’ motion for class certification,
both dated March 10, 2015. ECF Nos. 363, 364.

The Clerk of Court is directed to terminate the motions at ECF Nos. 441 and 457.

SO GRDERED.
Dated; Aprii i2, 2017 %/.
New York, New York

 

ANALISA TORRES
United States District badge

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